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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       ABDUL NEVAREZ, et al.,                            Case No. 16-cv-07013-LHK (SVK)
                                   8                    Plaintiffs,
                                                                                             ORDER REGARDING JULY 11, 2018,
                                   9             v.                                          JOINT DISCOVERY LETTER BRIEF
                                  10       FORTY NINERS FOOTBALL COMPANY,                    Re: Dkt. No. 182
                                           LLC, et al.,
                                  11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13            Before the Court is the Parties’ July 11, 2018 Joint Discovery Letter Brief in which

                                  14   Plaintiffs seek further inspections of Levi’s Stadium on an expedited basis. ECF 182.

                                  15   Specifically, Plaintiffs seek inspection of (1) entry gates/security checkpoints and (2) “satellite”

                                  16   Team Stores “as these are usually set up for event days” (collectively, “subject areas”). Id. For

                                  17   the reasons set forth below, Plaintiffs’ request is GRANTED.

                                  18            Although Plaintiffs’ motion is prompted by the recent Order Continuing Case Management

                                  19   Conference (“CMC Order”) issued on July 6, 2018, ECF 181, which set a July 27, 2018, deadline

                                  20   for Plaintiffs to file an amended complaint that “include[s] identification of all barriers,” the

                                  21   Parties have known about the need to conduct inspections of the subject areas for several months.1

                                  22   Indeed, Plaintiffs raised the inspection of the two subject areas on January 26, 2018, while the

                                  23   parties were onsite conducting a five-day inspection. ECF 182 at 2. Defendants point out, and

                                  24   Plaintiffs do not deny, that Plaintiffs have not followed up directly since then, and Defendants

                                  25   claim that they offered to make at least one of the areas available during one of the March

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                                         The Joint Letter, unhelpfully, sets out a long recitation by each Party complaining as to how the
                                  28   other side behaved during the inspections in January of this year. The only issue before the Court
                                       is whether additional inspections are currently warranted in a limited time frame.
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                                   1   inspections. Id. at 5.

                                   2          What Plaintiffs have done in the intervening months is file three lists of barriers, file expert

                                   3   reports in support of class certification identifying additional barriers, and most recently, in

                                   4   preparation for mediation, submit yet another set of lists with yet more barriers. See ECF 181.

                                   5   Plaintiffs’ preparation and production of these multiple barrier lists, without seeking to complete

                                   6   inspections of the subject areas, is troubling.

                                   7          However, fact discovery closes in October, and it would not have been unreasonable for

                                   8   Plaintiffs to have been operating under an assumption that they had at least some additional time

                                   9   to address this issue. Plaintiffs correctly point out that the exigency of the situation, conducting

                                  10   these inspections in the next ten days and then filing an amended pleading, has arisen as a result of

                                  11   the CMC Order just issued on July 6, 2018. Plaintiffs promptly contacted Defendants on that date

                                  12   to schedule the inspections, Defendants objected, and the Parties’ submitted the dispute to the
Northern District of California
 United States District Court




                                  13   Court on July 11, 2018. As a practical matter, Plaintiffs have moved quickly, once the deadline

                                  14   was imposed. That action, along with the strong interests of judicial economy to have all of

                                  15   Plaintiffs’ viable claims in suit, supports granting Plaintiffs’ request to complete the inspections in

                                  16   time to allow Plaintiffs to amend their complaint.

                                  17          Defendants argue that they cannot accommodate inspections of the subject areas on such

                                  18   short notice, particularly as they are configured in relevant time periods. Defendants also cite an

                                  19   upcoming event, preparations for which further hinder inspections on short notice. The Court

                                  20   acknowledges these concerns and recognizes the burden to meet the July 27, 2018, deadline

                                  21   created by the Court’s CMC Order. Nonetheless, the interests of judicial economy in establishing

                                  22   a complete factual foundation upon which to adjudicate the case outweighs these burdens.

                                  23          Accordingly, Plaintiffs’ request for further site inspections is GRANTED, with

                                  24   inspections to be completed no later than July 26, 2018.

                                  25          SO ORDERED.

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                                   1   Dated: July 16, 2018

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                                                                                     SUSAN VAN KEULEN
                                   4                                                 United States Magistrate Judge
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Northern District of California
 United States District Court




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